                           UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA



United States of America,                        Case No. 21-cr-173 (PJS/DTS)

              Plaintiff,

v.                                               ORDER

Anton Joseph Lazzaro (1),
also known as Tony Lazzaro,
also known as Tony,

              Defendant.



       Defendant Anton Joseph Lazzaro filed a pro se letter to the Court [Dkt. No. 190],

a pro se Memorandum in Support of Motion to Dismiss for Outrageous Conduct by the

Government [Dkt. No. 191], and a pro se Supplement to His Motion to Dismiss for

Selective Prosecution [Dkt. No. 192]. Lazzaro is represented by eight attorneys and has,

through his attorneys, previously withdrawn his Motion to Dismiss for Selective

Prosecution. Mot. Withdrawal Notice, Dkt. No. 187. Lazzaro acknowledged this Court’s

discretion to consider pro se filings when a defendant is represented by counsel. Dkt.

No. 190.

       The Court allowed Lazzaro to docket his pro se documents for purposes of the

record. Lazzaro’s Motion to Dismiss for Selective Prosecution has been withdrawn.

Lazzaro may not simultaneously represent himself while being represented by counsel.

Therefore, the Court declines to consider the merits of Lazzaro’s pro se filings.

                                         ORDER

       The Court, being duly advised in the premises, upon all the files, records, and

proceedings herein, IT IS HEREBY ORDERED:
      1.     The Court declines to consider the pro se filings.

      2.     The government need not file a response to the pro se filings.



Dated: April 26, 2022                           ___s/ David T. Schultz___________
                                                DAVID T. SCHULTZ
                                                U.S. Magistrate Judge




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